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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 9:18-cv-80911-BB


  JERRY EISENBAND, individually and
  on behalf of all others similarly situated,

          Plaintiff,

  vs.

  SCHUMACHER AUTOMOTIVE, INC.,
  a Florida Corporation,

          Defendant.
  _____________________________________________/

  DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO CLASS ACTION COMPLAINT

          COMES NOW Defendant, SCHUMACHER AUTOMOTIVE, INC., by and through its

  undersigned counsel and files this Answer to Plaintiff’s Class Action Complaint (hereinafter

  “Complaint”) and Affirmative Defenses and in support states as follows:

                                        NATURE OF THE ACTION
               1. Defendant makes no answer to the allegations pleaded in paragraph 1 of the

        Complaint to the extent they are conclusions of law. To the extent that an answer is

             required, Defendant denies it knowingly and willfully violated the TCPA.

              2. Defendant denies the allegations pleaded in paragraph 2 of the Complaint.

              3. Defendant denies the allegations pleaded in paragraph 3 of the Complaint.

              4. Defendant makes no answer to the allegations pleaded in paragraph 4 of the

  Complaint to the extent they are conclusions of law. To the extent that an answer is

  required, Defendant denies the allegations regarding its alleged “illegal actions.”




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                                       JURISDICTION AND VENUE

             5. Defendant makes no answer to the allegations pleaded in paragraph 5 of the

  Complaint to the extent they are conclusions of law. To the extent an answer is required,

  Defendant admits that the Court maintains subject matter jurisdiction over claims alleging

  violations of the TCPA.

               6. Defendant admits the allegations pleaded in paragraph 6 of the Complaint

   where it resides and conducts business to confer proper venue in the Southern District of

              Florida. Defendant denies the remaining allegations alleged therein.

                                                  PARTIES
             7. Defendant is without knowledge of the allegations pleaded in paragraph 7 of

  the Complaint, therefore they are denied.

             8. Defendant admits the allegations pleaded in paragraph 8 of the Complaint

  that it is a Florida corporation. Defendant admits it directs, markets and provides its

  business activities in the State of Florida.

                                                 THE TCPA

             9. Defendant makes no answer to the allegations pleaded in paragraph 5 of the

  Complaint to the extent they are conclusions of law. To the extent an answer is required,

  Defendant is without knowledge of the allegations pleaded in paragraph 9 of the Complaint,

  therefore they are denied.

             10. Defendant makes no answer to the allegations pleaded in paragraph 10 of the

  Complaint to the extent they are conclusions of law. To the extent an answer is required,




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  Defendant is without knowledge of the allegations pleaded therein, therefore they are

  denied.

            11. Defendant makes no answer to the allegations pleaded in paragraph 11 of the

  Complaint to the extent they are conclusions of law. To the extent an answer is required,

  Defendant is without knowledge of the allegations pleaded therein, therefore they are

  denied.

            12. Defendant makes no answer to the allegations pleaded in paragraph 12 of the

  Complaint to the extent they are conclusions of law. To the extent an answer is required,

  Defendant is without knowledge of the allegations pleaded therein, therefore they are

  denied.

            13. Defendant makes no answer to the allegations pleaded in paragraph 13 of the

  Complaint to the extent they are conclusions of law. To the extent an answer is required,

  Defendant is without knowledge of the allegations pleaded therein, therefore they are

  denied.

            14. Defendant makes no answer to the allegations pleaded in paragraph 14 of the

  Complaint to the extent they are conclusions of law. To the extent an answer is required,

  Defendant is without knowledge of the allegations pleaded therein, therefore they are

  denied.

            15. Defendant makes no answer to the allegations pleaded in paragraph 15 of the

  Complaint to the extent they are conclusions of law. To the extent an answer is required,

  Defendant is without knowledge of the allegations pleaded therein, therefore they are

  denied.


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            16. Defendant makes no answer to the allegations pleaded in paragraph 16 of

  the Complaint to the extent they are conclusions of law. To the extent an answer is

  required, Defendant is without knowledge of the allegations pleaded therein, therefore

  they are denied.

            17. Defendant makes no answer to the allegations pleaded in paragraph 17 of the

  Complaint to the extent they are conclusions of law. To the extent an answer is required,

  Defendant is without knowledge of the allegations pleaded therein, therefore they are

  denied.

            18. Defendant makes no answer to the allegations pleaded in paragraph 18 of the

  Complaint to the extent they are conclusions of law. To the extent an answer is required,

  Defendant is without knowledge of the allegations pleaded therein, therefore they are

  denied.

            19. Defendant makes no answer to the allegations pleaded in paragraph 19 of the

  Complaint to the extent they are conclusions of law. To the extent an answer is required,

  Defendant is without knowledge of the allegations pleaded therein, therefore they are

  denied.

            20. Defendant makes no answer to the allegations pleaded in paragraph 20 of the

  Complaint to the extent they are conclusions of law. To the extent an answer is required,

  Defendant is without knowledge of the allegations pleaded therein, therefore they are

  denied.

            21. Defendant makes no answer to the allegations pleaded in paragraph 21 of

  the Complaint to the extent they are conclusions of law. To the extent an answer is


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  required, Defendant is without knowledge of the allegations pleaded therein, therefore

  they are denied.

             22. Defendant makes no answer to the allegations pleaded in paragraph 22 of the

  Complaint to the extent they are conclusions of law. To the extent an answer is required,

  Defendant is without knowledge of the allegations pleaded therein, therefore they are

  denied.

             23. Defendant makes no answer to the allegations pleaded in paragraph 23 of the

  Complaint to the extent they are conclusions of law. To the extent an answer is required,

  Defendant is without knowledge of the allegations pleaded therein, therefore they are

  denied.

                                                 FACTS

             24. Defendant denies the allegations pleaded in paragraph 24 of the Complaint.

             25. Defendant is without knowledge of the allegations pleaded in paragraph 25

  of the Complaint, therefore they are denied.

             26. Defendant denies the allegations pleaded in paragraph 26 of the Complaint.

             27. Defendant denies the allegations pleaded in paragraph 27 of the Complaint.

             28. Defendant is without knowledge as to Plaintiff received the subject texts

  within this judicial district and, therefore, Defendant’s violation of the TCPA occurred

  within this district. Defendant denies as to upon information and belief; Defendant caused

  other text messages to be sent to individuals residing within this judicial district.

             29. Defendant is without knowledge of the allegations pleaded in paragraph 29

  of the Complaint, therefore they are denied.


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            30. Defendant is without knowledge of the allegations pleaded in paragraph 30

  of the Complaint, therefore they are denied.

            31. Defendant denies the allegations pleaded in paragraph 31 of the Complaint.

            32. Defendant is without knowledge of the allegations pleaded in paragraph 32

  of the Complaint, therefore they are denied.

            33. Defendant is without knowledge of the allegations pleaded in paragraph 33

  of the Complaint, therefore they are denied.

            34. Defendant is without knowledge of the allegations pleaded in paragraph 34

  of the Complaint, therefore they are denied.

            35. Defendant denies the allegations pleaded in paragraph 35 of the Complaint.

                                          CLASS ALLEGATIONS

                PROPOSED CLASS

            36. Defendant denies the allegations pleaded in paragraph 36 of the Complaint.

            37. Defendant denies the allegations pleaded in paragraph 37 of the Complaint.

            38. Defendant is without knowledge of the allegations pleaded in paragraph 38

  of the Complaint, therefore they are denied.

                NUMEROSITY

            39. Defendant denies the allegations pleaded in paragraph 39 of the Complaint.

            40. Defendant is without knowledge of the allegations pleaded in paragraph 40

  of the Complaint, therefore they are denied.

                COMMON QUESTIONS OF LAW AND FACT

            41. Defendant denies the allegations pleaded in paragraph 41 of the Complaint.


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            42. Defendant denies the allegations pleaded in paragraph 42 of the Complaint.

                TYPICALITY

            43. Defendant denies the allegations pleaded in paragraph 43 of the Complaint.

                PROTECTING THE INTERESTS OF THE CLASS MEMEBERS

            44. Defendant is without knowledge of the allegations pleaded in paragraph 44

  of the Complaint, therefore they are denied.

                PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

            45. Defendant denies the allegations pleaded in paragraph 45 of the Complaint.

            46. Defendant denies the allegations pleaded in paragraph 46 of the Complaint.

                                         COUNT I
                        Violations of the TCPA, 47 U.S.C. §227(b)
                          (On Behalf of Plaintiff and the Class)
            47. Defendant re-avers its responses to paragraphs 1-46 above and further

  responds as follows:

            48. Defendant is without knowledge of the allegations pleaded in paragraph 48

  of the Complaint, therefore they are denied.

            49. Defendant is without knowledge of the allegations pleaded in paragraph 49

  of the Complaint, therefore they are denied.

            50. Defendant denies the allegations pleaded in paragraph 50 of the Complaint.

            51. Defendant denies the allegations pleaded in paragraph 51 of the Complaint.

            52. Defendant denies the allegations pleaded in paragraph 52 of the Complaint.

            53. Defendant denies the allegations pleaded in paragraph 53 of the Complaint.

            54. Defendant denies the allegations pleaded in paragraph 54 of the Complaint.

            55. Defendant denies the allegations pleaded in paragraph 55 of the Complaint.

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                                          COUNT II
              Knowing and/or Willful Violation of the TCPA, 47 U.S.C. §227(b)
                            (On Behalf of Plaintiff and the Class)
              56. Defendant re-avers its responses to paragraphs 1-46 above and further

  responds to the allegations as follows:

              57. Defendant denies the allegations pleaded in paragraph 57 of the Complaint.

              58. Defendant denies the allegations pleaded in paragraph 58 of the Complaint.

              59. Defendant denies the allegations pleaded in paragraph 59 of the Complaint.

              60. Defendant denies the allegations pleaded in paragraph 60 of the Complaint.



                            DEFENDANT’S AFFIRMATIVE DEFENSES

                                   FIRST AFFIRMATIVE DEFENSE
                                      (Failure to State a Claim)

         The Complaint fails to state a claim upon which relief may be granted.

                                  SECOND AFFIRMATIVE DEFENSE
                                       (Lack of Standing)

         The Complaint and each purported claim contained therein are barred to the extent

  that Plaintiff or any member of the putative class is found to lack standing.

                                   THIRD AFFIRMATIVE DEFENSE
                                      (Prior Express Consent)

         The Complaint and each purported claim contained therein are barred to the extent

  that Plaintiff or any member of the putative class provided consent for the alleged text

  messages.




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                                FOURTH AFFIRMATIVE DEFENSE
                                    (No Automated Dialer)

         The Complaint and each purported claim contained therein are barred to the extent

  that Defendant, or any third party found to be acting on its behalf, did not employ an ATDS

  to transmit the alleged text messages.

                                FIFTH AFFIRMATIVE DEFENSE
       (Waiver, Estoppel, Laches, Unclean Hands, Ratification, and Statute of Limitations)

         The claims asserted in the Complaint are barred, in whole or in part, by the

  doctrines of waiver, estoppel, laches, unclean hands, ratification, and/or applicable statutes

  of limitations.

                                 SIXTH AFFIRMATIVE DEFENSE
                               (Plaintiff’s Own Actions or Inaction)

         Plaintiff’s damages, and the damages of the members of the putative class, if any,

  have been caused by his/their own action or inaction, including, but not limited to,

  his/their provision of prior express consent to receive the alleged text messages.

                               SEVENTH AFFIRMATIVE DEFENSE
                              (Defenses Specific to Class Members)

         Defendant may have additional unique affirmative defenses applicable to different

  putative members of Plaintiff’s proposed class. BSA reserves the right to assert such

  additional affirmative defenses as the need arises, insofar as class certification has not been

  granted and is not appropriate in this case.




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                                  EIGHTH AFFIRMATIVE DEFENSE
                                         (Third Parties)

         The matters that are the subject of this Complaint and the actions complained of

  therein are attributable to third parties over whom Defendant had no control or right to

  control, and recovery therefore is barred or limited.

                                 NINETH AFFIRMATIVE DEFENSE
                                (Substantial Compliance with Law)

         Defendant is not liable to Plaintiff or members of the putative class because

  Defendant acted reasonably and with due care and substantially complied with all

  applicable statutes, regulations, ordinances, and/or other laws. In the alternative, any

  alleged violation of the TCPA was not willful.

                                  TENTH AFFIRMATIVE DEFENSE
                                     (Class Action Improper)

         Plaintiff’s claims, and the claims of the members of the putative class, if any, fail to

  meet the necessary requirements for class certification under Federal Rule of Civil

  Procedure 23, including class ascertainability, typicality, commonality, numerosity,

  manageability, superiority, adequacy of the class representative, and lack of a community

  of interest among the putative class, and because class certification is inappropriate due to

  Defendant’s lawful practices.

                                   RESERVATION OF DEFENSES

         Defendant expressly reserves the right to amend and/or add additional defenses

  and affirmative defenses as discovery and investigation continues.




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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing document is being

  served upon all attorneys of record by e-mail through the United States District Court’s ECF

  system on this 29th day of October 2018.


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